                                            Case 1:21-cr-00153-RBW Document 105-1 Filed 05/23/23 Page 1 of 1
                                                                                            Single Charge of 1752(a)(1)



                                                                                             inside                                                Home                      Supervised
                            Case                                                            duration                              Incarceration Confinement Probation         Release                  Restitutio     Community
         Name             Number               Judge            Charge(s)       Guilt      (hh:mm:ss)      Sentenced Date           (months)      (months)       (months)    (months)       Fine           n         Service (hours)

                                                                                              0:23:43 Average, all Defendants               1.3          0.5        12.6             6.0   $1,234      $       500              49.4
                                                                                                          Number with Sentence               23              7          15            16       11               32                18
                                                                                                          Average of those with
                                                                                                                      sentence              2.2          2.5        31.1          13.9     $4,152      $       578             101.5
                                         Zia Faruqui, Trevor
      Jenny Cudd         1:21-cr-68                             1752(a)(1)      Plea        0:19:00           3/22/2022                0             0              2            0         $ 5,000     $       500         0
                                             McFadden
     James Brooks        1:22-cr-18           Jia Cobb          1752(a)(1)      Plea        0:10:00           11/3/2022                0             0             12            0         $       -   $       500         60
     Kevin Cordon        1:21-cr-277     Trevor McFadden        1752(a)(1)      Plea        0:04:00          11/15/2021                0             0             12            0         $ 4,000     $       500        100
     Verden Nalley       1:21-cr-116      Dabney Friedrich      1752(a)(1)      Plea        0:35:00           3/10/2022                0             0             24            0         $       -   $       500         60
      Rachael Pert       1:21-cr-139     Trevor McFadden        1752(a)(1)      Plea                         12/20/2021                0             0             24            0         $       -   $       500        100
     Nicholes Lentz      1:22-cr-53       Randolph Moss         1752(a)(1)      Plea        0:57:00           5/10/2022                0             1             36            0         $       -   $       500        100
   Michael Daughtry      1:21-cr-141      Randolph Moss         1752(a)(1)      Plea                          6/9/2022                 0             2             36            0         $       -   $       500         60
      James Mels         1:21-cr-184        Beryl Howell        1752(a)(1)      Plea        0:45:00          10/28/2022                0             3             36            0         $       -   $       500         60
      Elliot Bishai      1:21-cr-282      Tanya Chutkan         1752(a)(1)      Plea        0:27:00           7/29/2022               0.5            0              0           12         $       -   $       500         0
Leonard Pearson Ridge IV 1:21-cr-406      James Boasberg        1752(a)(1)      Plea                          1/4/2022                0.5            0              0           12         $ 1,000     $       500        100
      Couy Griffin       1:21-cr-92      Trevor McFadden        1752(a)(1)   Bench Trial                      6/17/2022               0.5            0              0           12         $ 3,000     $       500         60
   Daniel Herendeen      1:21-cr-278        Beryl Howell        1752(a)(1)      Plea                          4/1/2022                0.5            2             36            0         $       -   $       500         0
     Jeremy Grace        1:21-cr-492      Randolph Moss         1752(a)(1)      Plea        0:08:00           7/8/2022                0.7            0              0           12         $       -   $       500         60
     Treniss Evans       1:21-cr-225      Dabney Friedrich      1752(a)(1)      Plea        0:20:00          11/21/2022               0.7            0             36            0         $ 5,000     $       500         0
    Robert Schornak      1:21-cr-278        Beryl Howell        1752(a)(1)      Plea        0:10:00           2/18/2022               0.9            2             36            0         $       -   $       500         0
   Gracyn Courtright     1:21-cr-72     Christopher Cooper      1752(a)(1)      Plea        0:24:00          12/17/2021                1             0              0           12         $       -   $       500         60
    Emily Hernandez      1:21-cr-747      James Boasberg        1752(a)(1)      Plea        0:35:00           4/11/2022                1             0              0           12         $       -   $       500         80
    Brian McCreary       1:21-cr-125        Beryl Howell        1752(a)(1)      Plea        0:30:00           4/1/2022                1.4            2             36            0         $ 2,500     $       500         0
      Blake Reed         1:21-cr-204        Beryl Howell        1752(a)(1)      Plea        0:24:00           4/14/2022               1.4            3             36            0         $ 2,500     $       500         0
     William Tryon       1:21-cr-420       Reggie Walton        1752(a)(1)      Plea                          1/14/2022               1.7            0              0           12         $ 1,000     $       500         0
                                        Robin Meriweather,
      Ryan Suleski       1:21-cr-376                            1752(a)(1)      Plea        0:15:00          10/14/2022                2             0              0            0         $       -   $       500         60
                                          Randolph Moss
      Simone Gold        1:21-cr-85     Christopher Cooper      1752(a)(1)      Plea        0:28:00           6/16/2022                2             0              0           12         $ 9,500     $       500         0
     Ryan Ashlock        1:21-cr-160       Timothy Kelly        1752(a)(1)      Plea                         11/10/2022               2.3            0              0           12         $       -   $       500         0
                                       Michael Harvey, Reggie
     Adam Johnson        21-cr-648                              1752(a)(1)      Plea        0:35:00           2/25/2022               2.5            0              0           12         $ 5,000     $       500        200
                                              Walton
    Thomas Baranyi       1:21-cr-62       James Boasberg        1752(a)(1)      Plea        0:33:00           6/17/2022                3             0              0           12         $       -   $       500         60
      James Bonet        1:21-cr-121      Emmet Sullivan        1752(a)(1)      Plea        0:17:00           3/9/2022                 3             0              0           12         $       -   $       500        200
      Kelly O'Brien      1:21-cr-633      Royce Lamberth        1752(a)(1)      Plea                          4/6/2022                 3             0              0           12         $ 1,000     $       500         0
     Samuel Fisher       1:21-cr-142        Carl Nichols        1752(a)(1)      Plea        0:18:00           10/7/2022                4             0              0           12         $       -   $       500         60
    Bryan Betancur       1:21-cr-51        Timothy Kelly        1752(a)(1)      Plea                          8/10/2022                4             0              0           12         $       -   $       500         0
      Billy Knutson      1:22-cr-31         Florence Pan        1752(a)(1)      Plea        0:04:00           8/26/2022                6             0              0           12         $       -   $       500         0
    Dana Joe Winn        1752(a)(4)      Trevor McFadden        1752(a)(1)      Plea                         12/20/2021               0.3            0             24            0         $       -   $       500        100
    James Horning        1:21-cr-275   Amy Berman Jackson       1752(a)(1)      Plea                          2/15/2023                0             0             18            0         $       -   $       500         0




                                                                                                        5/21/2023
